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UNITED STATES DISTRICT COURT
SOUTRERN DISTRICT OF NEW YORK

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SAMHITA GERA, Individually and on
Behalf of Ali Others Similarly 2
Situated, : 23cv/908 (DLC)
Plaintiff, 2
ORDER
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ULPATH, INC., DANIEL DINES, and,
ASHIM GUPTA
Defendants.
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DENISE COTE, District Judge:

On September 6, 2023, plaintiff filed a class action
lawsuit on behalf of all persons who purchased UiPath, Inc,
(“UiPath”) common stock between April 21, 2021 and March 30,
2022. The complaint alleges violations of $$ 10(b) and 20(a) of
the Securities Exchange Act of 1934 (“1934 Act”).

Section 78u-4(a} (3) (A) of the Private Securities Litigation
Reform Act (“PSLRA”), 15 U.S.C. § 78u-4{a) (3) (A), requires that:

Not later than 20 days after the date on which the

complaint is filed, the plaintiff or plaintiffs shall

cause to be published, in a widely circulated national

business~oriented publication or wire service, a

notice advising members of the purported plaintiff

class--

(I) of the pendency of the action, the claims
asserted therein, and the purported class period;

and

(II} that, not later than 60 days after the date
on which the notice is published, any member of

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the purported class may move the court to serve
as lead plaintiff of the purported class.

15 U.S.C. § 78u-4¢ta) (3) (A) (i). The PSLRA also requires that not
later than 90 days after the date on which notice is published,
the Court shall consider any motion made by a purported class
member in response to the notice, and shall appoint as lead
plaintiff the member or members of the purported plaintiff class
that the Court determines to be most capable of adequately
representing the interests of class members. See id. § 78u-
4(a) (3) (B) (i). In the event that more than one action on behalf
of a class asserting substantially the same claim or claims has
been filed, and any party has sought to consolidate those actions
for pretrial purposes or for trial, the Court shall not appoint
a lead plaintiff until after a decision on the motion to
consolidate is rendered. See id. § 78u-4 (a) (3) (B) (ii).

Plaintiff's counsel published the required notice on
September 6, 2023. Members of the purported class therefore
have until November 5, 2023, to move the Court to serve as lead
plaintiffs. Accordingly, it is hereby

ORDERED that a conference shall be held at 10:00 AM on
December 1, 2023, in Courtroom 18B, United States Courthouse,
500 Pearl Street, New York, New York to consider any motions for
appointment of lead plaintiff and lead counsel and for

consolidation.
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TT IS FURTHER ORDERED that opposition to any motion for
appointment of lead plaintiff shall be served and filed by
November 22, 2023.

IT IS FURTHER ORDERED that the named plaintiff shall

promptly serve a copy of this Order on each of the defendants.

Dated: New York, New York
September 7, 2023

Alem CY,

DENISE COTE

United States District Judge
